Case 4:25-cv-01595 Document4 _ Filed on 04/25/25 in TXSD Page1lof4

IN THE UNITED STATES DISTRICT COURT

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SOUTHERN DISTRICT OF TEXAS Southom peng o,.
HOUSTON DIVISION FILED
DANTE A. WILSON, APR25 2025
Plaintiff, |
Nathan Ochsner, Clerk of Court
v. CIVIL ACTION NO, 4:25-cv-01595

PORTFOLIO RECOVERY ASSOCIATES, LLC,
Defendant.

PLAINTIFF'S MOTION TO STRIKE DEFENDANT'S ATTORNEY AS BOTH
ADVOCATE AND WITNESS

TO THE HONORABLE COURT:

COMES NOW, Plaintiff Dante A. Wilson (“Plaintiff”), and files this Motion to Strike
Defendant's counsel from continuing to act as both advocate and witness in this proceeding.
Plaintiff respectfully shows the Court as follows:

I. LEGAL STANDARD

1. Under Rule 3.08(a) of the Texas Disciplinary Rules of Professional Conduct,
incorporated through Local Rule 83.1 of the Southern District of Texas, an attorney shall
not accept or continue employment in a matter if the attorney knows or reasonably should
know they are likely to be a necessary witness.

2. Courts have consistently held that when counsel is a necessary witness in a proceeding,
disqualification is appropriate to prevent unfair prejudice and uphold ethical standards.
See Anderson Producing Inc. v. Koch Oil Co., 929 8.W.2d 416, 423 (Tex. 1996).

3. Federal Rule of Evidence 602 provides that a witness may not testify unless evidence
_ supports a finding that the witness has personal knowledge of the matter. Counsel cannot
rely on hearsay or unauthenticated records in pleadings without subjecting themselves to
being witnesses. .
Case 4:25-cv-01595 Document4 _ Filed on 04/25/25 in TXSD Page 2of4

In In re Sanders, 153 S.W.3d 54, 57 (Tex. 2004), the Texas Supreme Court held that
disqualification may be appropriate when an attorney's testimony is both necessary and
prejudicial to the opposing party.

If. ARGUMENT

In the instant case, Defendant’s attorneys have submitted exhibits, including billing
records and statements, which purport to establish key facts in dispute—namely, the
existence, amount, and ownership of the alleged debt.

Plaintiff contends that these documents require foundation and authentication that can
only be established through first-hand knowledge. As Defendant’s counsel lacks personal
knowledge of the transactions, their attempt to introduce such records positions them as
necessary witnesses under Rule 602,

Defendant's counsel is not the original creditor, not the custodian of records, and has no
personal knowledge of the original account. Nonetheless, counsel attempts to substantiate
the claims in this matter through unsworn statements and unauthenticated documents.

By submitting such evidence and potentially needing to testify to authenticate or explain
its contents, Defendant's counsel becomes a material witness in this case.

Continued representation by counsel under these circumstances presents a clear conflict
of interest, undermines the adversarial process, and may unfairly prejudice the Plaintiff.
The dual role of advocate and witness is impermissible and warrants disqualification.

Ii, PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this Honorable

Court:

1,

GRANT Plaintiff's Motion to Strike and disqualify Defendant’s counsel from serving as
both advocate and witness in this case;

BAR Defendant’s counsel from submitting evidence that requires their own testimony to
authenticate; and

Grant all such other and further relief, at law or in equity, to which Plaintiff may be justly
entitled.

Date: April 19, 2025
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Case 4:25-cv-01595 Document4 _ Filed on 04/25/25 in TXSD

Respectfully submitted,

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CERTIFICATE OF SERVICE

Page 3 of 4
Case 4:25-cv-01595 Document4 _ Filed on 04/25/25 in TXSD Page 4of4

This is to certify that a true and correct copy of the foregoing document has been forwarded
via certified mail to the court and all parties entitled to notice of the same on this 19th day of
April, 2024.

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